Case 2:21-cr-00310-KSH

Document 105 Filed 05/12/22 Page 1 of 8 PagelD: 141

U.S. Department of Justice
United States Attorney
District of New Jersey

Shontae D. Gray 970 Broad Street, Suite 700 Phone: 862-240-2343
Assistant United States Attorney Newark, New Jersey 07102

March 21, 2022

VIA EMAIL

Mr. Robert Gamburg, Esq.

1500 John F Kennedy Blvd, Suite 1203,
Philadelphia, PA 191092

Re: Plea Agreement with Christopher Odonits

Dear Mr. Gamburg:

This letter sets forth the plea agreement between your client, Christopher
Odonits (“Odonits” or the “Defendant”), and the United States Attorney for the
District of New Jersey (“this Office”). The plea agreement will expire if not
accepted in writing by April 4, 2022.

Charge

Conditioned on the understandings specified below, this Office will accept
a guilty plea from Odonits to Count One of the Indictment (Crim. No. 21-310
(KSH)}), charging Odonits with conspiracy to distribute 50 grams or more of
methamphetamine, a Schedule II controlled substance, contrary to 21 U.S.C. §§
841 (a)(1) and (b)(1)(A), in violation of 21 U.S.C. § 846. If Odonits enters a guilty
plea and is sentenced on this charge, and otherwise fully complies with all of the

agreement is signed by Odonits may be commenced against him,
notwithstanding the expiration of the limitations period after Odonits signs the
agreement.
Case 2:21-cr-00310-KSH Document 105 Filed 05/12/22 Page 2 of 8 PagelD: 142

Sentencing

The sentence to be imposed upon Odonits is within the sole discretion of
the sentencing judge, subject to the provisions of the Sentencing Reform Act, 18
U.S.C. §§ 3551-3742, and the sentencing judge’s consideration of the United
States Sentencing Guidelines. The United States Sentencing Guidelines are
advisory, not mandatory. The sentencing judge may impose any reasonable
sentence up to and including the statutory maximum term of imprisonment and
the maximum Statutory fine. This Office cannot and does not make any
representation or promise as to what guideline range may be found by the
Sentencing judge, or as to what sentence Odonits ultimately will receive.

Further, in addition to imposing any other penalty on Odonits, the
Sentencing judge: (1) will order Odonits to pay an assessment of $100 pursuant
to 18 U.S.C. § 3013, which assessment must be paid by the date of sentencing;
(2) may order Odonits to pay restitution pursuant to 18 U.S.C. § 3663 et seq.;
(3) may deny Odonits certain statutorily defined benefits, pursuant to 21 U.S.C.
§§ 862 and 862a; and (4) pursuant to 21 U.S.C. § 841, must require Odonits to
Serve a term of supervised release of at least 5 years, which will begin at the
expiration of any term of imprisonment imposed. Should Odonits be placed on
a term of supervised release and subsequently violate any of the conditions of

imposed, regardless of the Statutory maximum term of imprisonment set forth
above and without credit for time previously served on post-release supervision,
and may be sentenced to an additional term of supervised release.

Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this Office reserves its
right to take any position with respect to the appropriate sentence to be imposed
on Odonits by the sentencing judge, to correct any misstatements relating to the
sentencing proceedings, and to provide the sentencing judge and the United
States Probation Office all law and information relevant to sentencing, favorable
or otherwise. In addition, this Office may inform the sentencing judge and the
United States Probation Office of: (1) this agreement; and (2) the full nature and
extent of Odonits’s activities and relevant conduct with respect to this case.

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Case 2:21-cr-00310-KSH Document 105 Filed 05/12/22 Page 3 of 8 PagelD: 143

Stipulations

right to argue the existence of and the effect of any such fact or conclusion upon
the sentence. Moreover, this agreement to Stipulate on the part of this Office is
based on the information and evidence that this Office possesses as of the date

portion of this agreement, including any other stipulation. If the sentencing
court rejects a stipulation, both parties reserve the right to argue on appeal or
at post-sentencing proceedings that the sentencing court was within its
discretion and authority to do so. These Stipulations do not restrict this Office’s
right to respond to questions from the Court and to correct misinformation that

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and Odonits waive certain rights to
file an appeal, collateral attack, writ, or motion after sentencing, including but
not limited to an appeal under 18 U.S.C. § 3742 ora motion under 28 U.S.C.
§ 2255.

Forfeiture

Odonits agrees that as part of his acceptance of responsibility and
pursuant to 21 U.S.C. § 853, Odonits will forfeit to the United States any and all
property constituting or derived from any proceeds obtained directly or indirectly

as a result of the offense charged in the Indictment and any and all property
used or intended to be used in any Manner or part to commit and to facilitate

litate the commission of such offense,
pursuant to 21 U.S.C. § 853 (the “Forfeiture Judgment”). Payment of the

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Case 2:21-cr-00310-KSH Document 105 Filed 05/12/22 Page 4 of 8 PagelD: 144

Odonits waives the requirements of Rules 32.2 and 43(a) of the Federal
Rules of Criminal Procedure regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of

sentence that may be imposed in this case and waives any failure by the court
to advise him of this pursuant to Rule 11(b)(1)(J) of the Federal Rules of Criminal

Immigration Consequences

Odonits understands that, if he is not a citizen of the United States, his
guilty plea to the charged offense will likely result in his being subject to
immigration proceedings and removed from the United States by making him
deportable, excludable, or inadmissible, or ending his naturalization. Odonits
understands that the immigration consequences of this plea will be imposed in
a separate proceeding before the immigration authorities. Odonits wants and
Case 2:21-cr-00310-KSH Document 105 Filed 05/12/22 Page 5 of 8 PagelD: 145

Other Provisions

agreement does not prohibit the United States, any agency thereof (including the
Internal Revenue Service and Immigration and Customs Enforcement) or any
third party from initiating or prosecuting any civil or administrative proceeding
against Odonits.

No provision of this agreement shall preclude Odonits from pursuing in an
appropriate forum, when permitted by law, an appeal, collateral attack, writ, or
motion claiming that Odonits received constitutionally ineffective assistance of
counsel,

No Other Promises

This agreement constitutes the plea agreement between Odonits and this
Office and supersedes any previous agreements between them. No additional
promises, agreements, or conditions have been made or will be made unless set
forth in writing and signed by the parties.

Very truly yours,

PHILIP R. SELLINGER
United States Attorney

By: O4enutze D. fray.
Shontae D. Gray / 7
Assistant U.S. Attorney

APPROVED:

Feliu

Francesca Liquori
Chief, OCDETF/Narcotics Unit

Case 2:21-cr-00310-KSH Document 105 Filed 05/12/22 Page 6 of 8 PagelD: 146

I have received this letter from my attorney, Robert Gamburg, Esq. I have
read it. My attorney and I have discussed it and all of its provisions, including
those addressing the charge, sentencing, stipulations, waiver, forfeiture, and
immigration consequences. I understand this letter fully. I hereby accept its
terms and conditions and acknowledge that it constitutes the plea agreement
between the parties. | understand that no additional promises, agreements, or
conditions have been made or will be made unless set forth in writing and signed

by the parties. I want to plead guilty pursuant to this plea agreement.

AGREED AND ACCEPTED:

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Christopher Odonits

I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charge, sentencing, stipulations,
waiver, forfeiture, and immigration consequences. My client understands this

plea agreement fully and wants to plead guilty pursuant to it.

pe Date: s/\ / Jr —

Robert Gamburg,Esq.

Case 2:21-cr-00310-KSH Document 105 Filed 05/12/22 Page 7 of 8 PagelD: 147

Plea Agreement with Christopher Odonits
SCHEDULE A

1. This Office and defendant Odonits agree to stipulate to the
following facts:

a. The version of the United States Sentencing Guidelines
effective November 1, 2021 applies in this case. The applicable guideline is
U6.3.G, § 901.1.

b. This offense involved more than 500 grams but less than
1.3 kilograms of actual methamphetamine, and that this amount shall be
considered relevant conduct as defined in U.S.S.G. § 1B1.3.

c. Pursuant to the change in law effected by Section 402(b) of
the First Step Act of 2018 (the “Act”), Odonits may be eligible for the relief set
forth in 18 U.S.C. § 3553(f) (the “Statutory Safety-Valve”). That is because the
Act, which became effective on December 21, 2018, broadens the class of
defendants who are eligible to receive relief under the Statutory-Safety Valve.

d. Within the meaning of 18 U.S.C. § 3553(f}(2) and U.S.S.G.
§ 5C1.2(a)(2), Odonits did not use violence or credible threats of violence or
possess a firearm or other dangerous weapon (or induce another participant to
do so) in connection with the offense.

€. Within the meaning of 18 U.S.C. § 3553(f}(3) and U.S.S.G.
§ SC1.2(a)(3), the offense did not result in death or serious bodily injury to any
person.

f. As of the date of this letter, within the meaning of 18 U.S.C.
§ 3553(f)(4) and U.S.S.G. § SC1.2(a)(4), Odonits was not an organizer, leader,
Manager or supervisor and was not engaged in a continuing criminal enterprise,
as defined in 21 U.S.C. § 848.

g. Whether Odonits meets the criterion set forth in U.S.S.G.
§ 5C1.2(a)(1) and (5) has not yet been determined. If applicable, whether Odonits
meets the criterion set forth in 18 U.S.C. § 3553(f}(1), as amended by the Act has
not yet been determined.

2. If the sentencing court accepts the factual stipulations set forth
above, both parties waive the right to file an appeal, collateral attack, writ, or
motion claiming that the sentencing court erred in doing so. Otherwise, both
parties reserve the right to file, oppose, or take any position in any appeal,

collateral attack, or proceeding involving post-sentencing motions or writs.

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Case 2:21-cr-00310-KSH Document 105 Filed 05/12/22 Page 8 of 8 PagelD: 148
